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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION

 JOSE LUIS HERNANDEZ and                          §
 MONICA HERNANDEZ,                                §
                                                  §
      Plaintiffs,                                 §
                                                  §     CAUSE NO. EP-22-CV-14-KC
 v.                                               §
                                                  §
 INTERSTATE INTRINSIC VALUE                       §
 FUND A, LLC,                                     §
                                                  §
      Defendant.
                                               ORDER

         On this day, the Court sua sponte considered the above-captioned case. On January 19,

2022, Judge Frank Montalvo recused himself from the case of The Bank Of New York Mellon

F/K/A The Bank Of New York v. Trien, 3:20-CV-156, and the case was re-assigned to the

undersigned judge. Order of Recusal, 3:20-CV-156, ECF No. 29.

         Pursuant to this District’s Amended Order Assigning the Business of the Court effective

May 10, 2021, “[w]henever a judge receives a case due to . . . recusal, the receiving judge may

transfer one of his or her cases, of equal weight or as close as possible, to the . . . recused judge.”

May 10, 2021, Amended Order Assigning the Business of the Court. Accordingly, this Court

transfers the above-captioned case to the Honorable Frank Montalvo pursuant to this District’s

Amended Order. See id.

         Accordingly, it is ORDERED that the above-captioned case is TRANSFERRED to the

docket of the Honorable Frank Montalvo. The District Clerk shall CREDIT this case to the

percentage of business of the receiving Judge pursuant to the most current Order Assigning the

Business of the Court.
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SO ORDERED.

SIGNED this 20th day of January, 2022.




                          KATHLEEN CARDONE
                          UNITED STATES DISTRICT JUDGE




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